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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


  KUSUMA NIO, et al.,

                           Plaintiffs,

                   v.                                  Civil Action No. 17-0998 (ESH)

  UNITED STATES DEPARTMENT OF
  HOMELAND SECURITY, et al.,

                           Defendants.


  MAHLON KIRWA, et al.,

                           Plaintiffs,

                   v.                                   Civil Action No. 17-1793 (ESH)

  UNITED STATES DEPARTMENT OF
  DEFENSE, et al.,

                           Defendants.


  LUCAS CALIXTO, et al.,

                           Plaintiffs,

                   v.                                  Civil Action No. 18-1551 (ESH)

  UNITED STATES DEPARTMENT OF
  THE ARMY, et al.,

                           Defendants.


                                      PROTECTIVE ORDER

         In light of the Court’s hearing of October 3, 2018 and as agreed to by the parties, it is

hereby

         ORDERED that, unless otherwise specified by the Court, all Court-ordered reporting by

defendants shall be filed publicly, except that defendants shall redact MAVNI soldier personally
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identifiable information (“PII”) – such as soldier name, A-number, and birth date – from the

public filing. Information that is not typically designated as PII – such as discharge dates,

discharge reasons, MSSD completion dates and findings, etc. – shall not be redacted from the

public filing. Defendants shall provide plaintiffs’ counsel and the Court with unredacted versions

of all reporting.

        Plaintiffs’ counsel may disclose unredacted material from the reporting only as follows:

            a. To the individual MAVNI soldier with whom the PII is associated; however

                    1. nothing within this Order restricts a soldier’s use of his/her own PII or

                        other information from defendants’ reporting specific to that soldier,

                        including MSSD information and discharge information, and

                    2. an individual soldier may authorize plaintiffs’ counsel to further disclose

                        his/her own PII or other information specific to that soldier from the

                        reporting.

            b. To the Court, this Court’s official personnel, and any reviewing appellate court

                and its personnel as well as court reporters and interpreters in the above-captioned

                litigation.

            c. To plaintiffs’ counsel, including any attorneys, paralegals, office clerks,

                secretaries, and other support staff to whom such disclosure plaintiffs’ counsel

                deems reasonably necessary. These persons shall use the redacted material only

                for purposes of the above-captioned litigation.

            d. To legal and/or subject matter experts and consultants (and the experts’ or

                consultants’ staff whose duties or responsibilities require access to such PII)

                engaged or consulted by plaintiffs’ counsel to assist in the above-captioned



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               litigation. These persons shall use the redacted material only for purposes of the

               above-captioned litigation.

       Pursuant to the Privacy Act, 5 U.S.C. § 552a(b)(11), defendants may release to plaintiffs’

counsel the names and last known contact information for MAVNI soldiers who are potential

class members in the above-captioned litigation, and who have been discharged since September

30, 2016, without obtaining the prior written consent of the individuals to whom such records or

information pertain.

       SO ORDERED.




                                                     ELLEN SEGAL HUVELLE
                                                     United States District Judge
Date: October 5, 2018




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